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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     SCOTT GRIFFITH COLLABORATIVE                     Case No. 19-cv-06104-SBA (JCS)
                                         SOLUTIONS, LLC,                                           19-cv-08171-SBA (JCS)
                                   8                    Plaintiff,
                                   9             v.                                       ORDER TO PRODUCE DOCUMENTS
                                  10
                                         FALCK NORTHERN CALIFORNIA
                                  11     CORP., et al.,
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




                                         FALCK USA, INC., et al.,
                                  13
                                                        Plaintiffs,
                                  14
                                                 v.
                                  15
                                         SCOTT GRIFFITH COLLABORATIVE
                                  16     SOLUTIONS, LLC,
                                  17                    Defendant.
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                                  19          All parties have stated that they do not object to the document production contemplated by
                                  20   the October 13, 2021 corrected order to show cause. Scott Griffith Collaborative Solutions, LLC
                                  21   is therefore ORDERED to produce documents as stated in the corrected order to show cause no
                                  22   later than October 18, 2021.
                                  23          IT IS SO ORDERED.
                                  24   Dated: October 14, 2021
                                  25                                                  ______________________________________
                                                                                      JOSEPH C. SPERO
                                  26                                                  Chief Magistrate Judge
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